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lN TH'.E U`N`ITED STATES DISTRICT COiURT
FOR TH`E WESTERN DISTRICT OF TENN]ESSEE
WES'I`ERN DIVISION

 

UNITEI) STATES OF AMERICA, § » &jM(/K @M£ j E,~
Plaincin', ) ¢, //~ps' 76th
vs. § C'riminal No. 04~-20371-M
TERRENCE DAVIS, §
Dei'endant. z
PLEA AGREEMEN'_I`

 

Pursuant to R'ule 11 of the Federal Bul§s of §rirnigal Proceg'ure_, the attorney for the `United
Statesl TER.RENCE DAVIS, and the attorney for TE`R.RENCE DAVIS have reached an agreement

that contemplates the entry of a plea of guilty by TERRENCE DAVIS in this case. The full and
complete plea agreement is as follows:

l. TERRENCE DAVIS agrees that he will enter a voluntary plea ot`guilty to all Counts
of indictment number 04-2 0371.

2. TERRENCE DAVIS agrees that he is pleading guilty because he is in fact guilty of
the offenses charged in the lndictment.

3. TERR`ENCE DAVIS agrees that this plea agreement constitutes the entire agreement
between him and the United States and that no threats have been made to induce him to plead guilty.

4. TERRENCE DAVIS agrees to cooperate fully with this t)t!ice and any other fe-ieral, 1
state or local law enforcement agency as directed by this Oftice. 'l`his cooperation will includ :, but

is not limited to, the following:

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a. to respond truthfully and completely to any and all questions or inquiri :s that
may be put to him, whether in interviews, before a grand jury or at any lrial(s) or other court
proceedings,'

b. to attend all meetings, grand jury sessions, trials and other proceedings at
which his presence is required by this office or compelled by subpoena or court order;

c. to produce voluntarily any and all documents, records, or other tangible
evidence relating to the matters about which this office inquires;

d. to testify at any proceeding in the Westem `District ofTennessee or elsewhere
as requested by this Oftice; and,

e. to consent to adjournments of his sentencing hearing as requested by this
Off'lce.

5. Nothing in this agreement requires the government to accept any cooperation or
assistance that TER.R.ENCE DAVIS may choose to proffer. 'l`he decision whether and how ' o use
(it` at all) any information and/or cooperation that 'IERRENCE DAVIS provides is in the exoj usive
discretion of this Offtce.

6. TERRENCE DAV.IS must at all times give complete, truthful and accurate
information and testimony, and must not commit, or attempt to commit, any further crimes. S'.\ould
it be judged by the Oft'tce that TER.R.ENCE DAVIS has failed to cooperate fully. has intentionally
given false, misleading or incomplete information or testimony, has committed or attempted to
commit any further crimes, or has otherwise violated any provision of this agreement, 'I`ER.R.E.NCE
DAVIS will not be released from his plea of guilty but this Office Will be released from its

obligations under this agreement

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7. There has been no representation made whatsoever by any agent or employee of the
United States or other law enforcement agency as to what the final disposition of this matter s hould
or will be.

8. Ii' the `United States determines that TERR.`ENCE DAVIS has cooperated fully, has
provided substantial assistance to law enforcement authorities which led to or aided in the
prosecution of other individuals and has otherwise complied with the terms of this agreement the
United States will make a motion pursuant to § SKl.l of the sentencing guidelines and 18 U.S.C.
§ 3553(¢) with the sentencing court setting forth the nature and extent of TERRENCE DAVIS'
cooperation In this connection, it is understood that the United States’ determination of whether
TERRENCE 'DAVIS has cooperated fully and the United States’ assessment of the i'alue,
truthfulness, completeness and accuracy of the cooperation, shall be binding upon him. The L' nited
States cannot and does not make a promise or representation as to what sentence will be imposed
by the eo‘urt. The United States will be free to recommend a proposed sentence to the Court sit the
sentencing hearing TER.RENCE DAVIS understands that at the time this plea is entered, noone
has promised him that a substantial assistance motion will he made on his `behalf.

9. ‘l`ER.`RENCE DAVIS acknowledges that he has not been coctced, threatens d, or
promised anything in exchange for his plea oi`guilty. 'fEl{RENCE DAVIS further understands that
his attorney will 'be free to argue any mitigating factors in his behalf and will be free to propose any
alternatives to incarceration available under the Sentencin g Guidelines. 'lFERREN`CE DAVIS fu rtlier
understands that he will have an opportunity to personally address the Court prior to sentence l »eing

imposed

10. TERRENCE DAVIS has discussed the terms of the foregoing plea agreement with

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his attorney and is satisfied with his attorney and his advice and counsell Being aware of .'ill the
possible consequences of his plea, TERRENCE DAVIS has independently decided to enter his plea

of guilty of his own free will, and aflinns this agreement on the date and by his signature be fow.

FOR THE UNITED S“l`ATES

TER.RELL L. HA.RRI'S
United States Altomey

MM , ¢l_

Davlld/Pritchard j Dato
Special Assista.nt United States Attomey

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Crnig Morton Date
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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 57 in
case 2:04-CR-20371 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

